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 1   Timothy P. Fox (CA Bar 157750)
     tfox@creeclaw.org
 2   Elizabeth Jordan*
 3
     ejordan@creeclaw.org
     CIVIL RIGHTS EDUCATION AND
 4   ENFORCEMENT CENTER
     1245 E. Colfax Avenue, Suite 400
 5   Denver, CO 80218
     Tel.: (303) 757-7901
 6   Fax: (303) 872-9072                  Stuart Seaborn (CA Bar 198590)
                                          sseaborn@dralegal.org
 7 Veronica Salama*                       Melissa Riess (CA Bar 295959)
   veronica.salama@splcenter.org          mriess@dralegal.org
 8 SOUTHERN POVERTY LAW                   Rosa Lee V. Bichell (CA Bar 331530)
   CENTER                                 rbichell@dralegal.org
 9 P.O. Box 1287 Decatur, GA, 30031       DISABILITY RIGHTS ADVOCATES
10 Tel: (404) 221-5825
                                          2001 Center Street, 4th Floor
   Fax: (404) 221-5857                    Berkeley, California 94704
11                                        Tel.: (510) 665-8644
                                          Fax: (510) 665-8511
12

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14
                       UNITED STATES DISTRICT COURT
15                    CENTRAL DISTRICT OF CALIFORNIA
                        EASTERN DIVISION – RIVERSIDE
16

17   FAOUR ABDALLAH FRAIHAT, et al.,        Case No.: 5:19-cv-1546-JGB(SHKx)
18                     Plaintiffs,
                 v.                         DISCOVERY MATTER
19

20   U.S. IMMIGRATION AND CUSTOMS           STIPULATED ELECTRONIC
     ENFORCEMENT, et al.,                   DISCOVERY PROTOCOL
21

22                     Defendants.
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 1 William F. Alderman (CA Bar 47381)           Mark Mermelstein (CA Bar 208005)
   walderman@orrick.com                         mmermelstein@orrick.com
 2 Jake Routhier (CA Bar 324452)                ORRICK, HERRINGTON &
   jrouthier@orrick.com                         SUTCLIFFE LLP
 3 ORRICK, HERRINGTON &                         777 South Figueroa Street
 4 SUTCLIFFE    LLP                             Suite 3200
   405 Howard Street                            Los Angeles, CA 90017
 5 San Francisco, CA 94105                      Tel.: (213) 629-2020
   Tel.: (415) 773-5700                         Fax: (213) 612-2499
 6 Fax: (415) 773-5759
                                                Leigh Coutoumanos*
 7 Michael W. Johnson*                          lcoutoumanos@willkie.com
   mjohnson1@willkie.com                        Timothy Ryan*
 8 Jessica Blanton*                             tryan@willkie.com
   jblanton@willkie.com                         WILLKIE FARR &
 9 Joseph Bretschneider*                        GALLAGHER LLP
   jbretschneider@willkie.com                   1875 K Street NW, Suite 100
10 WILLKIE FARR &                               Washington, DC 20006
11 GALLAGHER LLP                                Tel.: (202) 303-1000
   787 Seventh Avenue                           Fax: (202) 303-2000
12 New York, NY 10019
   Tel.: (212) 728-8000
13 Fax: (212) 728-8111                          Maria del Pilar Gonzalez Morales
                                                (CA Bar 308550)
14 Benjamin R. Salk**                           pgonzalez@creeclaw.org
   benjamin.salk@splcenter.org                  CIVIL RIGHTS EDUCATION
15 SOUTHERN POVERTY LAW                         AND ENFORCEMENT CENTER
   CENTER                                       1825 N. Vermont Avenue, #27916
16 111 E. Capitol Street, Suite 280             Los Angeles, CA 90027
17 Jackson, MS 39201                            Tel.: (805) 813-8896
   Phone: 601-948-8882                          Fax: (303) 872-9072
18 Fax: 601-948-8885
19 Christina Brandt-Young*                      Lisa Graybill (CA Bar 254540)
   cbrandt-young@dralegal.org                   graybill@nilc.org
20 DISABILITY RIGHTS                            NATIONAL IMMIGRATION LAW
   ADVOCATES                                    CENTER
21 655 Third Avenue, 14th Floor                 P.O. Box 40476
   New York, NY 10017                           Austin, TX 78704
22 Tel.: (212) 644-8644
   Fax: (212) 644-8636
23
24
   Attorneys for Plaintiffs (continued from previous page)
25 *Admitted Pro Hac Vice
   **Pro Hac Vice Application Forthcoming
26
27
28
Case 5:19-cv-01546-JGB-SHK Document 239 Filed 10/05/20 Page 3 of 19 Page ID #:4718



 1 Jeffrey Bossert Clark
   Acting Assistant Attorney General
 2 William C. Peachey
   Director
 3 Jeffrey S. Robins
 4 Deputy  Director
   Lindsay M. Vick (MA 685569)
 5 lindsay.vick@usdoj.gov
   Anna L. Dichter (NJ 304442019)
 6 anna.l.dichter@usdoj.gov
   Hans H. Chen
 7 hans.h.chen@usdoj.gov
   Hayden Windrow**
 8 hayden.e.windrow@usdoj.gov
   UNITED STATES DEPARTMENT OF JUSTICE
 9 CIVIL DIVISION
   OFFICE OF IMMIGRATION LITIGATION
10 DISTRICT COURT SECTION
11 P.O. Box 868 Ben Franklin Station
   Washington, D.C. 20044
12 Tel.: (202) 532-4023
   Fax: (202) 305-7000
13
   Attorneys for Defendants
14
15
16
17
18
19
20
21
22
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1              The Parties propose to the Court the following terms, which are hereby
2 adopted and entered as the Order governing production of electronic discovery.
3              IT IS HEREBY ORDERED:
4       I.        DEFINITIONS:
5       i.        The “Litigation” means the case captioned above.
6       ii.       “Electronically Stored Information” or “ESI” carries its broadest possible
7                 meaning consistent with Fed. R. Civ. P. 34(a) and Fed. R. Evid. 1001.
8       iii.      “Document” carries its broadest possible meaning consistent with Fed. R.
9                 Civ. P. 34 and Fed. R. Evid. 1001 and includes both ESI and Hard Copy
10                Discovery.
11      iv.       “Format” means the internal structure of a file, which defines the way it
12                is stored and used.
13      v.        “Native File(s)” or “Native Format” means ESI that is a file or datum
14                created by a computer-based, cloud-based, or artificial intelligence-based
15                application (including, by way of example, Microsoft Office, Microsoft
16                Access, video and audio files, *.eml, *.pst, and *.pdf files).
17      vi.       “Non-Custodial Data Source” means a system or container that stores
18                ESI, but over which an individual custodian does not organize, manage
19                or maintain the ESI in the system or container, such as an enterprise
20                system or database.
21      vii.      “Preservation” or “Preserved” shall mean taking reasonable steps to
22                prevent the partial or full destruction, alteration, shredding, incineration,
23                wiping or loss, due to any reason whatsoever, of information, including
24                ESI and hard copy documents.
25      viii.     “Producing Party” means a Party that produces documents within its
26                possession, custody and control.
27      ix.       “Receiving Party” means a Party to whom documents are produced.
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1       x.      “Metadata” means (i) information embedded in a Native File that is not
2               ordinarily viewable or printable from the application that generated,
3               edited, or modified such Native File; and (ii) information generated
4               automatically by the operation of a computer or other information
5               technology system when a Native File is created, modified, transmitted,
6               deleted or otherwise manipulated by a user of such system.
7       xi.     “Static Image(s)” means a representation of ESI produced by converting
8               a Native File into a standard image format capable of being viewed and
9               printed on standard computer systems. A Tagged Image File Format
10              (“TIFF”) image is an example of a Static Image.
11      xii.    “Tagged Image File Format” or “TIFF” refers to the CCITT Group IV
12              graphic file format for storing bit-mapped images of ESI or paper
13              documents.
14      xiii.   “Load/Utilization File” means an electronic file containing information
15              identifying a set of paper-scanned images or processed ESI and
16              indicating where individual pages or files belong together as documents,
17              including attachments, and where each document begins and ends.
18              A Load/Utilization File also contains data relevant to the individual
19              Documents, including extracted and user-created Metadata, coded data,
20              as well as OCR or Extracted Text.
21      xiv.    “OCR” means the optical character recognition file which is created by
22              software used in conjunction with a scanner that is capable of reading
23              text-based documents and making such documents searchable using
24              appropriate software.
25      xv.     “Extracted Text” means the text extracted from a Native File and
26              includes all header, footer, and document body information.
27      xvi.    “Structured Data” means data that has been organized into a tabular
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 1               format with relationships between the different rows and columns,
 2               including, but not limited to, Excel spreadsheets, SQL databases, and
 3               other relational databases.
 4      II.      PURPOSE AND LIMITATIONS
 5      i.       This Order supplements all other discovery rules and orders. It
 6               streamlines ESI production to promote a “just, speedy, and inexpensive
 7               determination” of this action, as required by Federal Rule of Civil
 8               Procedure 1. Nothing in this order shall be construed (1) to prohibit the
 9               undersigned Parties from agreeing to modify any provision of this order
10               or seeking relief from the Court; (2) as a waiver of any Party’s rights
11               under the Federal Rules of Civil Procedure; (3) to require disclosure of
12               information that is not relevant to the claims or defenses in this case or
13               that is protected by applicable privilege; or (4) to waive any objections as
14               to the production, discoverability, or confidentiality of ESI.
15      ii.      This Order may be modified by a Stipulated Order of the Parties or, for
16               good cause, by the Court. Plaintiffs and Defendants (collectively, “the
17               Parties”) shall attempt to resolve any proposed modifications in good
18               faith, and comply with the meet and confer process procedures laid out
19               by the Court. If the Parties cannot resolve this dispute, they may proceed
20               under the Federal and Local Rules of Civil Procedure addressing
21               discovery disputes.
22      III.     CUSTODIANS AND ROLLING PRODUCTIONS
23      i.       Initial Disclosure of Custodians.
24            By October 7, 2020, each Party must provide the other Parties with a list of
25 all custodians of responsive information within their possession, custody and
26 control and will supplement this information as needed consistent with Rule 26(e).
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 1      ii.       Production of Documents from Custodial Sources.
 2             The Parties shall meet and confer regarding the collection, search and
 3 production of documents. The documents will be collected, and the Parties shall
 4 produce any relevant, non-privileged documents, consistent with the scope and
 5 limits of discovery pursuant to Rule 26(b). Productions may be made on a rolling
 6 basis while the collection and review of documents are ongoing.
 7      iii.      Initial Disclosure of Non-Custodial Sources and Structured Data.
 8             By October 7, 2020, the Parties shall exchange lists identifying the location
 9 and name of non-custodial sources, within their possession, custody and control
10 that each Party believes, in good faith, are most likely to contain relevant
11 documents pertaining to the claims and defenses in this action. Each Party will
12 inform the other Party if additional non-custodial sources are located after this
13 date.
14      iv.       Meet and Confer Regarding Production of Non-Custodial Sources
15                and Structured Data.
16             If either Party requests to meet and confer regarding the production of
17 structured or other non-custodial data, such meeting shall occur on or before
18 October 15, 2020, unless otherwise agreed. The Parties should be prepared to
19 discuss any responsive structured or non-custodial data sources that may be
20 searched, and must have available in person or on call an appropriate consultant to
21 discuss the technical details of structured or non-custodial data production.
22 Notwithstanding the above, at this time, the Parties do not agree regarding
23 production from databases. Pending resolution of this dispute, the Parties will
24 meet and confer regarding terms of any production required from a database. It
25 shall be understood that if a database or any portion thereof is to be produced, it
26 should be done in a mutually agreeable data exchange format and in a manner that
27 is feasible for the producing party.
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 1      IV.         SEQUENCE AND PROCEDURE OF ESI DISCOVERY
 2      i.          The Parties agree that discovery of ESI shall proceed as follows.
 3           To promote the proportionality of discovery as set forth in Fed. R. Civ. P.
 4 26(b)(1), requests for production of ESI and related responses should be
 5 reasonably targeted, clear, and as specific as practicable. After receiving requests
 6 for document production, the Producing Party shall conduct a reasonable search for
 7 reasonably accessible sources of ESI that may contain documents or other
 8 information relevant to any party’s claims or defenses in the Litigation.
 9 A Producing Party will disclose to a Requesting Party the existence of those
10 sources of ESI that it believes contain responsive information and that are not
11 reasonably accessible, and, to the extent necessary, the Parties will meet and confer
12 concerning such information that has been identified as not reasonably accessible.
13           The Parties hereby agree, without prejudice to either Party’s right to seek
14 production of any specific ESI in accordance with the applicable law, that the
15 sources of ESI enumerated below are inaccessible and will not be preserved or
16 searched. By agreement, this Order satisfies the motion for protective order
17 requirements of Rule 26(b)(2)(B) relating to inaccessible sources. Accordingly,
18 the sources set forth below are hereby deemed to not be reasonably accessible
19 without undue burden and cost:
20           i.        Voicemail, if any;
21           ii.       Residual, fragmented, damaged, permanently deleted, slack
22                     and unallocated data, if any;
23           iii.      Backup tapes or other long-term storage media that were
24                     created strictly for use as a data backup medium; and,
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 1             iv.      Archives stored on computer servers, external hard drives,
 2                      notebooks or personal computer hard drives that are created for
 3                      disaster recovery purposes and not used as reference materials
 4                      in the ordinary course of business.
 5      ii.          ESI of Limited Accessibility.
 6             If a Producing Party contends that any responsive ESI is not reasonably
 7 accessible within the meaning of Fed. R. Civ. P. 26(b)(2)(B), that party shall
 8 timely identify such ESI with reasonable particularity and shall provide the
 9 Receiving Party with the basis for declining to produce such ESI.
10      iii.         Preservation.
11             The Parties have or will fulfill their duty to preserve information which is
12 potentially relevant to the claims and defenses in this case.
13      iv.          Privilege Logs.
14      A. The Parties are to confer on the nature and scope of privilege logs for the
15             case, including whether categories of information may be excluded from any
16             logging requirements and whether alternatives to document-by-document
17             logs can be exchanged. Such alternatives include, but are not limited to: (i)
18             “categorical” privilege logs; (ii) “metadata only” privilege logs; (iii)
19             provisions to permit parties to omit logging redactions when the basis of the
20             redaction is identified in the document; and (iv) logging an e-mail string as
21             an individual document (without separately logging each included
22             communication).
23      B. A Producing Party shall produce such privilege logs within thirty (30) days
24             of each document production or at least thirty (30) calendar days before
25             discovery closes, whichever occurs sooner.
26      C. Notwithstanding the paragraph immediately above, if a Custodian of
27             documents is scheduled to be deposed, a party shall attempt to produce a
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 1           Privilege Log for that Custodian’s documents at least seven (7) calendar
 2           days prior to that Custodian’s deposition and shall notify the other party if
 3           such a production cannot be accomplished. The Parties may meet and
 4           confer regarding the deposition schedule should a party believe the
 5           production of a Privilege Log is absolutely necessary prior to a specific
 6           deposition. Should the Parties agree a privilege log is required prior to
 7           deposition, any such deposition shall not occur more than thirty days after
 8           documents from that custodian have been produced.
 9      D. With respect to privileged information or attorney work product generated
10           after the filing of the complaint, including activities undertaken in response
11           to this litigation, that information is protected from disclosure and discovery
12           under Fed. R. Civ. P. 26(b)(3)(A) and (B), and the Parties are not required to
13           include any such information in privilege logs.
14      E. Activities undertaken in compliance with the duty to preserve information
15           are protected from disclosure and discovery under Fed. R. Civ. P.
16           26(b)(3)(A) and (B) and need not be logged.
17      F. On June 17, 2020, the Court separately entered the Protective Order, which
18           includes the claw back provisions, ECF No. 160, to govern the standards and
19           procedures for addressing claims of privilege over inadvertently disclosed
20           materials in this litigation.
21      v.      Technology-Assisted Review
22           If either party intends to utilize Technology-Assisted Review (including but
23 not limited to predictive coding technologies), the Parties agree to disclose
24 procedures including validation measures and meet and confer in good faith to
25 discuss the Parties’ internal review process.
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1       vi.      Search Terms
2                   After the service of any request for production, the Requesting Party
3 and the Producing Party shall meet and confer on search terms or other search
4 methodology to be used. The Parties shall have an initial exchange of search terms
5 within a reasonable time of service of any request for production calling for the
6 production of ESI, and may meet and confer within 7 calendar days of such
7 exchange of search terms.
8       V.       ESI FORMAT
9       i.       For each ESI file produced, the Parties agree to include the extracted full
10               text (or the OCR data, if extracted full text is unavailable), subject to the
11               normal capabilities of each Party’s document management and
12               production software.
13      ii.      The Parties will produce electronic documents in the following format:
14      A. ESI should be produced in single-page TIFF format (one .tif file per page)
15            only. The TIFF images should be produced in Standard Group IV Black and
16            White single page TIFF images at a minimum of 300 dpi or in color at a
17            minimum 150 dpi .jpg images. TIFF image files should be segmented into
18            directories not to exceed 1,000 files per folder. Each TIFF will have the
19            production number endorsed in the lower right hand corner of the document
20            and any confidentiality designation endorsed on the lower left corner of the
21            document. The Parties agree to respond in good faith to reasonable and
22            specific requests for the production of higher resolution or color images.
23      B. The TIFF documents should be produced in a manner consistent with the
24            way in which the original document was stored in the ordinary course of
25            business, i.e., in a manner that does not break up document families (such as
26            email and attachments), and the original ESI shall be preserved including
27            metadata.
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1       C. The Parties will use the following specifications when converting ESI from
2          its native format into its production format:
3          i.     Tracked changes, if any, shall be revealed.
4          ii.    Author comments, if any, shall be revealed.
5          iii.   Hidden columns and rows, if any, shall be revealed.
6          iv.    Presenter notes, if any, shall be revealed.
7          v.     To the extent documents in a foreign language are produced,
8                 processing of such documents shall be Unicode-compliant.
9          vi.    With respect to documents containing redacted text, new
10                OCR text of the redacted image(s) will be provided for the
11                documents.
12         vii.   Processing vendors will normalize all ESI to (UTC-05:00)
13                Eastern Time (US & Canada).
14      D. Where production in TIFF format has rendered the document unreadable or
15         not reasonably usable, the Producing Party shall reproduce the document in
16         its original, native format, to the extent practical. Documents with privileged
17         information, however, will not be produced in native format. The Parties
18         shall confer in good faith to identify those documents that require
19         reproduction in native format. If a document is produced in native format, a
20         corresponding placeholder TIFF image will be added to the production set,
21         with the text indicating “FILE PRODUCED NATIVELY” displayed on the
22         page, plus any endorsements described above.
23      E. Bates numbers should be endorsed on the face of the image.
24      F. The Parties will work in good faith to produce the following metadata fields
25         as part of one data load file (.dat) per production, to the extent such metadata
26         exists (and is relevant to the file type at issue), and can be automatically
27         extracted and loaded into the Producing Party’s ESI management software in
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1          the ordinary course and operations of such software:
2           Field Name                      Description
3           BegBates                        Unique ID (Bates Number) listed on the
4                                    first page of a document
5
6           EndBates                        Unique ID (Bates Number) listed on the last
7                                    page of a document
8
9           BEGATTACH                       Unique ID (Bates Number) for the first
10                                   page of the Parent-Child Relationships for each
11                                   document within the family
12
13          ENDATTACH                       Unique ID (Bates Number) for the last page
14                                   of a parent child relationship for each document
15                                   within the family
16          ATTACH_NAMES                    File names of attached documents
17
            ATTACH_COUNT                    Count of attachments (any level child
18
                                     document) associated with a parent document.
19
            CUSTODIAN                       Name of the custodian from whom the
20
                                     document was collected
21
            ALL CUSTODIANS                  Name(s) of all custodians who had the
22
                                     document before de-duplication
23
            AUTHOR                          Name of the creator of an electronic
24
                                     document, where available
25
            FROM                            Email address and alias/display name of the
26
                                     Sender of an email.
27
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1           TO                              Email address and alias/display name of the
2                                    Recipient of an email.
3           CC                              Email address and alias/display name of the
4                                    Carbon Copy Recipients of an email.
5           BCC                             Email address and alias/display name of the
6                                    Blind Carbon Copy Recipients of an email.
7           SUBJECT                         Email Subject line
8           DATE TIME SENT                  Email sent date and time (from time zone at
9                                    place of collection)
10          DATE TIME                       Email received date and time (from time
11    RECEIVED                       zone at place of collection)
12          FILEEXTENSION                   File extension
13          FILENAME                        Filename of electronic document
14          FILESIZE                        File size of electronic document
15          RECORDTYPE                      Populated with Email, Attachment, or
16                                   Loose File.
17          DATE TIME                       Creation date and time of an electronic file.
18    CREATED
19          DATE TIME                       Date and time electronic file was last
20    MODIFIED                       modified or edited
21          DOC TITLE                       Title of an electronic document, where
22                                   available
23
            THREAD_ID                       Email thread identification value
24
                                     (ConversationIndex or other identifier)
25
            LAST_EDIT_BY                    Identity of person/user who last modified or
26
                                     edited an electronic file, where available
27
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1               CONFIDENTIALITY                Confidentiality designation for each
2                                        document, if any
3               REDACTED                       Indicates whether redactions have been
4                                        applied to the document
5               NATIVE_PROD                    Location of native file in production
6                                        volume
7               FILEPATH                       Starting with container name (PST or NSF)
8                                        through mailbox folder name. Format:
9                                        Outlook.PST\Inbox\Important
10              TEXT_PATH                      Path to document-level text files
11
                MD5HASH                        MD5HASH value for all file types
12
                PARENTDATE                     For parent emails, this field will be
13
                                         populated with the DateSent
14
                                               For e-attachments, this field will be
15
                                         populated with the DateSent of their parent email
16
                                               For other electronic documents, this field
17
                                         will be populated with the DateLastModified.
18
                PARENTID                       Contains the Begdoc# value of an
19
                                         attachment’s parent
20
        iii.      File Naming Conventions.
21
               Each placeholder image file shall be named with a unique Bates Number
22
     followed by the extension “.TIF”.
23
        iv.       Document Unitization.
24
               If hard copy documents are scanned into an electronic form, the unitization
25
     of the document and any attachments shall be maintained as it existed in the
26
     original when creating the image file. For documents that contain fixed notes, the
27
28
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 1 pages will be scanned both with and without the notes and those pages will be
 2 treated as part of the same document. The relationship of documents in a
 3 document collection (e.g., cover letter and enclosures, e-mail and attachments,
 4 binder containing multiple documents, or other documents where a parent-child
 5 relationship exists between the documents) shall be maintained through the
 6 scanning or conversion process.
 7      v.       Production of Native Files.
 8            All spreadsheet and presentation files (e.g., Excel, PowerPoint) shall be
 9 produced in the unprocessed “as kept in the ordinary course of business” state (i.e.,
10 in native format), with an associated placeholder image and endorsed with a unique
11 Bates Number. See Paragraph V.viii. The file produced should maintain the
12 integrity of all source, custodian, application, embedded and related file system
13 metadata. Spreadsheets and presentation files that require redactions shall be
14 produced in accordance to the specifications in Paragraph V.vii below.
15            To the extent a Party believes that specific documents or classes of
16 documents, not already identified within this protocol, should be produced in
17 native format, the Parties agree to meet and confer in good faith.
18      vi.      Duplicates.
19            ESI may be deduplicated globally following industry-standard global
20 deduplication algorithms. An acceptable method, such as the MD5 hash format,
21 shall be used for any deduplication. All custodians who had a copy prior to
22 deduplication, such as email recipients, CCs, or BCCs, will be populated in an
23 ALL CUSTODIANS metadata field.
24            If email attachments are deemed duplicates, but the documents to which they
25 are attached are not, neither they nor the documents to which they were attached
26 shall be deduplicated. Similarly, email attachments that are deemed duplicates of
27 non-email documents also shall not be deduplicated.
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 1      vii.      Redacted Documents.
 2             Documents that contain redactions, including spreadsheets and presentation
 3 files, will be produced in single-page TIFF format with corresponding OCR text
 4 and a Concordance-delimited DAT file containing the metadata fields outlined in
 5 Paragraph V.ii.F to the extent that such metadata fields are not part of the
 6 redaction. Documents that require redaction will be noted as “Redacted” in the
 7 DAT file. Documents that require redaction to any of the metadata fields will be
 8 produced with a Redaction Status “Metadata Redacted” indicating the metadata for
 9 that document has been redacted in the DAT file. Redacted metadata fields will be
10 withheld in full.
11      viii.     Bates Numbering.
12             Each TIFF/JPEG image shall have a legible, unique page identifier (“Bates
13 Number”) electronically “burned” onto the image. No other legend or stamp will
14 be placed on the document image other than a confidentiality legend where
15 applicable.
16             The TIFF files shall be named with a unique production Bates number that
17 matches the Bates number on the page, followed by the appropriate file extension,
18 .tif. The filename should not contain any blank spaces and should be zero padded
19 (for example, ABC00000001).
20      ix.       Production Media.
21             A Producing Party shall produce the responsive documents in an encrypted
22 electronic form via Secure File Transfer or on a CD-ROM, DVD, external hard
23 drive, or such other readily accessible computer or electronic media as the Parties
24 may hereafter agree upon (the “Production Media”). Information that shall be
25 identified on the physical Production Media shall include: (1) a reference to this
26 case number, (2) the Producing Party’s name, and (3) the production date. The
27 Bates Number range(s) of the materials on the Production Media shall also be
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 1 contained on the Production Media, and where not practicable to do so may be
 2 provided in an accompanying letter.
 3      x.        Embedded Objects.
 4             Non-image files embedded within documents, such as spreadsheets within a
 5 Power Point, will be extracted as separate documents and treated like attachments
 6 to the document in which they were embedded. Graphic objects embedded within
 7 documents or emails, such as logos, signature blocks, and backgrounds shall not be
 8 extracted as separate documents.
 9      xi.       Compressed Files.
10             Compression file types (e.g., .CAB, .GZ, .TAR, .Z, .ZIP) shall be
11 decompressed in a manner that ensures a container within a container is
12 decompressed into the lowest uncompressed element result in individual files.
13 The container file itself shall not be produced.
14      xii.      Other ESI that is Impractical to Produce in Traditional Formats
15                (also known as Structured Data).
16             The Parties understand and acknowledge that certain categories of ESI are
17 structurally complex and do not lend themselves to production as native format or
18 other traditional formats. To the extent a response to discovery requires production
19 of discoverable electronic information contained in a database, the Parties agree to
20 confer to define appropriate parameters for querying the database for discoverable
21 information and generating a report in a reasonably usable and exportable
22 electronic file (e.g., Excel, CSV or SQL format).
23      xiii.     Production of Other Electronic Documents.
24             The Parties shall meet and confer to agree on the form of any production of
25 electronic documents not addressed in this protocol.
26 Dated: 10/5/20                                    _____________________________
                                                     Hon. Shashi H. Kewalramani
27
                                                     United States Magistrate Judge
28
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     Respectfully submitted
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     DATED: October 1, 2020
4
5     /s/ Benjamin Salk                        Jeffrey Bossert Clark
      Benjamin Salk                            William C. Peachey
6     Shalini Goel Agarwal                     Jeffrey S. Robins
      Veronica Salama                          Anna L. Dichter
7                                              /s/ Lindsay M. Vick
      SOUTHERN POVERTY LAW
8     CENTER                                   Lindsay M. Vick
                                               Hans H. Chen
9     /s/ Timothy P. Fox                       Hayden Windrow
      Timothy P. Fox                           UNITED STATES DEPARTMENT
10    Elizabeth Jordan                         OF JUSTICE
      Maria del Pilar Gonzalez Morales         CIVIL DIVISION
11    CIVIL RIGHTS EDUCATION AND               OFFICE OF IMMIGRATION
      ENFORCEMENT CENTER                       LITIGATION
12
13    /s/ Stuart Seaborn                       Attorneys for Defendants
      Stuart Seaborn
14    Christina Brandt-Young
      Melissa Riess
15    Rosa Lee V. Bichell
16    DISABILITY RIGHTS
      ADVOCATES
17
      /s/ William F. Alderman
18    William F. Alderman
      Mark Mermelstein
19    Jake Routhier
      ORRICK, HERRINGTON &
20    SUTCLIFFE LLP
21    /s/ Michael W. Johnson
22    Michael W. Johnson
      Leigh Coutoumanos
23    Jessica Blanton
      Joseph Bretschneider
24    Timothy Ryan
      WILLKIE FARR &
25    GALLAGHER LLP
26    Attorneys for Plaintiffs
27
28
                                             18
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